    Case 3:18-cr-00500-B Document 80 Filed 06/25/19                Page 1 of 1 PageID 805


                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

UNITED STATES OF AMERICA,   §
                            §
v.                          §                                3:18-CR-500-B
                            §
                            §
CHRISTOPHER AUNDRE FAULKNER §




                         ENTRY OF APPEARANCE OF COUNSEL

      I hereby enter my appearance as appointed Coordinating Discovery Attorney for the above-
named defendant in this cause.

       I understand that it is my duty to continue to represent the defendant in connection with all
matters related to coordination of the discovery in this case.



Dated: June 25, 2019                          /s/ Jason Hawkins
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